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                                                           EXHIBIT
                                                           EXHIBIT 1
                                                                   1

v
                                         EMPLOYEE WARNING RECORD

Lepiino Foods

 Employee Name: Cory Gettman                            DOH: 04/28/98                DEPT: Processing


 Date Warning Issued by P.D.. 07/03/07
                                                                                     DEPT MGR: Manlev Frisbie


                                                         WARNING
 On 06/26 vou were involved in an act of reoccuring horsepla
                                                             y that caused frustration for a co-worker. As a leader.

 behaviors of this nature should not take place nor will this be tolerated
                                                                           . This one-day suspension from work without nay

 is to inform and impress upon you the need for you to change your
                                                                   behaviors relating to horseplay and as a leader on the

 floor set the example of a good work environment.



                                                            Q&. Jtoh S        t

                             EMPLOYEE'S                 RE MA RKS        RE: VIOLATION
 The absence of any statement on the part of the employee indicates
                                                                    his/her agreement with this report as stated, write on
 back of the white copy if necessary.




                   ACTION         TO     BE     TAKEN          TO    CORRECT         VIOLATION
 Future occurrences may result in further disciplinary action up
                                                                 to and including suspensions and/or termination.


 I have read the "warning" and understand it.


 /


     T-?                                                                                        ^            7 -3-o7
Employee Signature:                         Date:                   Supervisor/   iajpr Issuing Warning       Date:


Reviewing Manager




  "AWL euPP                               1-3-67
Dept Manager Si
                3   ature:                      Date:




Comments from Suspension:




                                                                                                      Reviewed ByS
Employee Copy

P.D.   Copy^
                                                                                                     SC             KM
                                                        CONFIDENTIAL
                                                        CONFIDENTIAL                                      LEP1592
                                                                                                          LEP1592
